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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       )
                                               )
                v.                             )       Magistrate No. 21-257
                                               )
RACHEL POWELL                                  )


                 NOTICE OF FILING OF APPEAL OF RELEASE ORDER

       Now comes the United States of America, by its attorneys, Scott W. Brady, United States

Attorney for the Western District of Pennsylvania, and Jessica Lieber Smolar, Assistant United

States Attorney for said District, submits this notice of filing of appeal of release order:

       1.       The Defendant, Rachel Powell, was charged by Criminal Complaint in the District

of Columbia (Case No. 21-mj-197), on February 3, 2021, with Depredation of Government

Property, Entering Restricted Building or Grounds with a Dangerous Weapon, Entering Restricted

Building or Grounds, and Violent Entry or Disorderly Conduct. Powell was arrested on February

4, 2021, in the Western District of Pennsylvania. On February 9, 2021, United States Magistrate

Judge Lenihan presided over the detention hearing of Powell.

       2.       After the detention hearing, United States Magistrate Judge Lisa Lenihan denied

the Government’s request for detention and ordered that Powell be released on bond with

conditions of home detention with electronic monitoring. The Government requested a stay of

the release order. Judge Lenihan granted the Government’s request for a stay of her order until 5

P.M. on February 10, 2021.

       3.       On February 10, 2021, Assistant United States Attorney Elizabeth Aloi for the

District of Columbia, filed an Appeal of the detention order at Case No. 21-mj-197 with the district

court of the District of Columbia. The Appeal of Release Order & Motion for Emergency Stay,



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as well as a Proposed Transport Order & Stay Orders (attached as Exhibits A, B, and C) filed with

the district court of the District if Columbia are attached hereto.




                                                   Respectfully submitted,

                                                   SCOTT W. BRADY
                                                   United States Attorney


                                           By:     s/ Jessica Lieber Smolar
                                                   JESSICA LIEBER SMOLAR
                                                   Assistant U.S. Attorney
                                                   PA ID No. 65406




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